                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 1 of 41 Page ID #:1




                     1   COLE R. SHERIDAN (SBN: 215109)
                     2
                         LAW OFFICES OF COLE SHERIDAN
                         1990 South Bundy Drive, Suite 630
                     3   Los Angeles, California 90025
                     4   Email: csheridan@csheridanlaw.com
                         Phone 310-819-9640
                     5
                         Attorney for Plaintiffs,
                     6
                         Russell Stuart; Douglas Myrdal;
                     7   and Superbox Holdings
                         Canada Inc.
                     8

                     9                             UNITED STATES DISTRICT COURT
                    10      FOR THE CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                    11
                         RUSSELL STUART, an individual               Case No. 2:20-cv-3956
                    12   (and derivatively on behalf of              VERIFIED COMPLAINT:
                    13
                         SuperBox, Inc.); DOUGLAS
                         MYRDAL, an individual (and                  DIRECT CLAIMS:
                    14   derivatively on behalf of SuperBox,
                                                                           1. VIOLATION OF §10(b) OF
                    15   Inc.); and SUPERBOX HOLDINGS                         THE SEC. EXCHANGE ACT
                         CANADA INC., a British Columbia                      AND SEC RULE 10b-5;
                    16
                         corporation (and derivatively on                  2. FRAUD [CA Civ. Code §1572];
                    17   behalf of SuperBox, Inc.),                        3. VIOLATION OF CA CORP.
                                                                              CODE §§25401, 25501;
                    18               Plaintiffs,                           4. VIOLATION OF CA BUS. &
                    19         v.                                             PROF. CODE §17200 et seq.;
                                                                           5. CONVERSION;
                    20   BARRY SYTNER, an individual;                      6. NEGLIGENT
                    21   DAVID E. LAZAR, an individual;                       MISREPRESENTATION;
                         CUSTODIAN VENTURES, LLC,                          7. UNJUST ENRICHMENT
                    22
                         a Wyoming limited liability company;
                                                                     SHAREHOLDER DERIVATIVE
                    23   EDWARD LAZAR, an individual;
                                                                     CLAIMS:
                         SHULAMIT LAZAR, an individual;
                    24
                         BETTY SYTNER, an individual;                      8. BREACH OF FIDUCIARY
                    25   SUPERBOX, INC., a Nevada                              DUTY;
                         corporation (and nominal defendant);              9. ABUSE OF CONTROL;
                    26
                         and DOES 1-10, inclusive,                         10. UNJUST ENRICHMENT
LA10358.222004271




                    27
                                     Defendants.                     JURY TRIAL DEMANDED
                    28


                                                                 - 1 –
                                                               COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 2 of 41 Page ID #:2




                     1
                               Plaintiffs RUSSELL STUART, an individual (and derivatively on behalf of
                     2
                         SuperBox, Inc.) (“STUART”); DOUGLAS MYRDAL, an individual (and derivatively
                     3
                         on behalf of SuperBox, Inc.) (“MYRDAL”); and SUPERBOX HOLDINGS CANADA
                     4
                         INC., a British Columbia corporation (and derivatively on behalf of SuperBox, Inc.)
                     5
                         (“SB CANADA”) (collectively referred to herein as “Plaintiff”), through their
                     6
                         undersigned attorney, is informed and believes and thereon alleges and avers as
                     7
                         follows:
                     8
                                                                    I.
                     9
                                                    JURISDICTION AND VENUE
                    10
                               1.     This action arises under Section 10(b) of the Securities Exchange Act of
                    11
                         1934, as amended (the "Exchange Act"), 15 U.S.C. §§78j(b) and 78t and Rule 10b-5
                    12
                         promulgated thereunder by the Securities and Exchange Commission (the "SEC");
                    13
                         §25401 of the California Corporations Code, the California Business and Professions
                    14
                         Code; and under applicable principles of common law of the State of California.
                    15
                         The Complaint presented here includes multiple counts, each representing a separate
                    16
                         legal cause of action, based upon essentially the same series of facts arising from the
                    17
                         Defendants’ use of fraudulent misrepresentations and other deceptive devices in
                    18
                         connection with the sale, acquisition and/or trading of securities as well as the
                    19
                         contravention of such rules and regulations as promulgated in the public interest. This
                    20
                         court has jurisdiction over this action under 28 U.S.C.A. §1331, 15 U.S.C.A. §78aa,
                    21
                         and principles of supplemental jurisdiction under 28 U.S.C.A. §1367(a). This action is
                    22
                         not a collusive one to confer jurisdiction that the court would otherwise lack.
                    23
                               2.     Venue is proper in this District pursuant to §27 of the Exchange Act, 15
                    24
                         U.S.C.A. §78aa. The actionable acts and/or omissions complained of herein occurred
                    25
                         less than one (1) year from the undersigned date and are not time barred by any
                    26
                         applicable statute. One or more defendants reside and maintain a continuous presence
LA10358.222004271




                    27
                         within the State of California (the “State”), County of Los Angeles (“County”), City of
                    28


                                                                  - 2 –
                                                                COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 3 of 41 Page ID #:3




                     1
                         Los Angeles (“City”). One or more acts and/or omissions complained of herein were
                     2
                         committed in the City, County and State; and/or resulted in materially false and/or
                     3
                         misleading information regarding the sale, acquisition and/or trading of securities
                     4
                         being transmitted into the City, County and State. Further, each defendant has at all
                     5
                         times referenced herein conducted such continuous, systematic and/or substantial
                     6
                         business activities in the City, County and State and/or with residents of the City,
                     7
                         County and State that each has purposefully availed himself and/or itself to the City,
                     8
                         County and State and/or conspired in a common scheme to violate securities laws. In
                     9
                         connection with the acts and conduct alleged in this Complaint, the Defendants
                    10
                         conspired to directly and indirectly used means and instrumentalities of interstate
                    11
                         commerce, including the United States mails, interstate telephone communications and
                    12
                         the wire transfer facilities of the international banking systems for the fraudulent
                    13
                         purchase of securities.
                    14
                                                                       II.
                    15
                                    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
                    16
                               A. IDENTIFICATION OF NOMINAL PARTIES.
                    17
                               3.     At all relevant times mentioned herein, Nominal Defendant SUPERBOX,
                    18
                         INC., a Nevada corporation (“SuperBox”) has been a corporation, duly organized
                    19
                         under the laws of the State of Nevada, with its principal place of business located in
                    20
                         the State of California (the “State”), County of Los Angeles (“County”), City of Los
                    21
                         Angeles (“City”). SuperBox has been named herein in its derivative capacity as a
                    22
                         nominal defendant and the portion of this Complaint that constitutes this shareholder’s
                    23
                         derivative action is brought on its behalf.
                    24
                               B. IDENTIFICATION OF MATERIAL PARTIES.
                    25
                               4.     Plaintiff RUSSELL STUART, an individual (“STUART”) formed
                    26
                         SuperBox in or about 1999 and has served as its chief executive officer (“CEO”) since
LA10358.222004271




                    27
                         its formation. STUART has been a shareholder of SuperBox at all relevant times
                    28


                                                                   - 3 –
                                                                 COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 4 of 41 Page ID #:4




                     1
                         mentioned herein and has, at all material times mentioned herein, conducted all
                     2
                         principal business within the City, County and State. At all relevant times mentioned
                     3
                         herein, STUART has been either a purchaser or seller of the security in question, as
                     4
                         contemplated by Section 10(b) and Rule 10b-5.
                     5
                               5.      Plaintiff SUPERBOX HOLDINGS CANADA INC. (“SB CANADA”)
                     6
                         has been a corporation, duly organized under the laws of British Columbia corporation,
                     7
                         and formed in or about 2005. At all relevant times mentioned herein, SB CANADA
                     8
                         has been either a purchaser or seller of the security in question, as contemplated by
                     9
                         Section 10(b) and Rule 10b-5.
                    10
                               6.      Plaintiff DOUGLAS MYRDAL, an individual (“MYRDAL”) is CEO of
                    11
                         SB CANADA. MYRDAL has been a shareholder of SuperBox at all relevant times
                    12
                         mentioned herein. At all relevant times mentioned herein, MYRDAL has been either a
                    13
                         purchaser or seller of the security in question, as contemplated by Section 10(b) and
                    14
                         Rule 10b-5.
                    15
                               7.      Plaintiffs RUSSELL STUART, an individual (and derivatively on behalf
                    16
                         of SuperBox, Inc.); SUPERBOX HOLDINGS CANADA INC., a British Columbia
                    17
                         corporation (and derivatively on behalf of SuperBox, Inc.) (“SB CANADA”); and
                    18
                         DOUGLAS MYRDAL, an individual (and derivatively on behalf of SuperBox, Inc.)
                    19
                         (“MYRDAL”) will each fairly and adequately represent the interests of the similarly
                    20
                         situated shareholders in enforcing the rights of SuperBox.
                    21
                               8.      Plaintiff is informed and believes and thereon alleges that at all relevant
                    22
                         times mentioned herein, Defendant CUSTODIAN VENTURES, LLC (“Custodian
                    23
                         Ventures”) has been a limited liability company, duly organized under the laws of the
                    24
                         State of Wyoming since on or about February of 2018.
                    25
                               9.      Plaintiff is informed and believes and thereon alleges that at all relevant
                    26
                         times mentioned herein, Defendant David E. Lazar, an individual (“LAZAR”) has
LA10358.222004271




                    27
                         been managing member, officer, director and/or authorized executive agent of
                    28


                                                                  - 4 –
                                                                COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 5 of 41 Page ID #:5




                     1
                         Custodian Ventures.
                     2
                               10.   Plaintiff is informed and believes and thereon alleges that at all relevant
                     3
                         times mentioned herein, Defendant Edward Lazar, an individual (“E.LAZAR”), has
                     4
                         been managing member, officer, director, an authorized agent of Custodian Ventures, a
                     5
                         co-conspirator and/or or ‘controlling person’ under 15 U.S. Code § 78t (as more
                     6
                         specifically addressed below).
                     7
                               11.   Plaintiff is informed and believes and thereon alleges that at all relevant
                     8
                         times mentioned herein, Defendant Shulamit Lazar, an individual (“S.LAZAR”), has
                     9
                         been managing member, officer, director, an authorized agent of Custodian Ventures, a
                    10
                         co-conspirator and/or or ‘controlling person’ under 15 U.S. Code § 78t (as more
                    11
                         specifically addressed below).
                    12
                               12.   Plaintiff is informed and believes and thereon alleges that at all relevant
                    13
                         times mentioned herein, Defendant Barry Sytner, an individual (“SYTNER”) is a
                    14
                         resident of the City, County and State, maintains a continuous presence within the
                    15
                         City, County and State, and has been managing member, officer, director, an
                    16
                         authorized agent of Custodian Ventures, a co-conspirator and/or or ‘controlling person’
                    17
                         under 15 U.S. Code § 78t (as more specifically addressed below).
                    18
                               13.   Plaintiff is informed and believes and thereon alleges that at all relevant
                    19
                         times mentioned herein, Defendant Betty Sytner, an individual (“BT.SYTNER”) is a
                    20
                         resident of the City, County and State, maintains a continuous presence within the
                    21
                         City, County and State, and has been managing member, officer, director, an
                    22
                         authorized agent of Custodian Ventures, a co-conspirator and/or or ‘controlling person’
                    23
                         under 15 U.S. Code § 78t (as more specifically addressed below).
                    24
                               14.   Defendants DOES 1-10 are named as fictitious defendants who have
                    25
                         participated with or acted in concert with one or more of the Defendants named herein,
                    26
                         or who have acted on behalf of or as agents, servants or employees of one or more of
LA10358.222004271




                    27
                         the Defendants named herein, but whose true names and capacities, whether
                    28


                                                                 - 5 –
                                                               COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 6 of 41 Page ID #:6




                     1
                         individual, corporate, or otherwise, are presently unknown to Plaintiff. Plaintiff is
                     2
                         informed and believes and thereon alleges that Defendants DOES 1-10 have directly or
                     3
                         indirectly participated in and are responsible for the acts and omissions that are more
                     4
                         specifically described herein and Plaintiff’s damages as alleged herein were
                     5
                         proximately caused by such Defendants. Because Plaintiff is presently uninformed as
                     6
                         to the true names and capacities of Defendants DOES 1-10, Plaintiff sues them herein
                     7
                         by fictitious names, but will seek leave to amend this Complaint when their true names
                     8
                         and capacities are discovered.
                     9
                               C. “ALTER EGO” & UNITY OF INTEREST, PURPOSE & CONTROL.
                    10
                               15.    Plaintiff is informed and believes and thereon alleges that, at all relevant
                    11
                         times mentioned herein, Defendants LAZAR, E.LAZAR, S.LAZAR, SYTNER,
                    12
                         BT.SYTNER, and Custodian Ventures and Defendants DOES 1-10, and each of them
                    13
                         (also collectively referred to herein as “Defendant”), have been of an association of
                    14
                         two or more persons and/or entities engaged in the conduct of a trade, business,
                    15
                         profession and/or conspiracy, of a frequent or continuous nature, for profit and/or gain,
                    16
                         and out of which each of Plaintiff’s claims as stated herein arose.
                    17
                               16.    At all relevant times herein, each above-referenced Defendant has
                    18
                         knowingly and willfully maintained Custodian Ventures as a mere corporate shell,
                    19
                         without adequate capital or assets, and without observance of any corporate formalities
                    20
                         and have knowingly and fraudulently co-mingled its assets with those of the other
                    21
                         Defendants named herein.
                    22
                               17.    At all times relevant herein, each Defendant has participated in the
                    23
                         deceptive scheme to fraudulently obtain control, right and/or interest in SuperBox and
                    24
                         to deprive shareholders of SuperBox of their respective control, right and/or interest
                    25
                         through malice, deceit, fraud, oppression and/or duress. A unity of interest, purpose
                    26
                         and control has existed, at all times relevant herein, between each and all of the
LA10358.222004271




                    27
                         individual Defendants named herein [i.e. Defendants LAZAR, E.LAZAR, S.LAZAR,
                    28


                                                                  - 6 –
                                                                COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 7 of 41 Page ID #:7




                     1
                         SYTNER and BT.SYTNER (as natural persons) on one hand, and Defendant
                     2
                         Custodian Ventures (as a legal entity) on the other hand], as such natural persons have
                     3
                         acted on behalf of themselves, as individuals, as well as within their respective
                     4
                         capacities as managing members, members, corporate officers and/or directors of such
                     5
                         corporate entities. Such unity of interest and ownership exists between each and every
                     6
                         named Defendant such that any individuality and separateness between Defendants
                     7
                         LAZAR, E.LAZAR, S.LAZAR, SYTNER and BT.SYTNER (as natural persons) on
                     8
                         one hand, and Defendant Custodian Ventures (as a legal entity) along with DOES 1-
                     9
                         10, on the other hand, have ceased, and such legal entities are the alter ego of one
                    10
                         another.
                    11
                               18.     Adherence to the fiction of the separate existence of each of the above-
                    12
                         referenced Defendants as entities distinct from one another would permit an abuse of
                    13
                         the corporate and/or legal privilege and would sanction fraud and promote injustice in
                    14
                         that these Defendants used the sham corporation of Custodian Ventures to perpetrate
                    15
                         an ongoing fraud on Plaintiff and SuperBox shareholders.
                    16
                               19.     Plaintiff is further informed and believes and thereon alleges that, at all
                    17
                         relevant times mentioned herein, each Defendant was the agent of each of the
                    18
                         remaining Defendants and/or a co-conspirator, and in doing the things hereinafter
                    19
                         alleged, was acting within the course and scope of such agency, employment and/or
                    20
                         conspiracy.
                    21
                               20.     On information and belief, each of the defendants either: (a) participated
                    22
                         in the actions, transactions, conduct and practices complained of in this Complaint; (b)
                    23
                         approved, agreed to and conspired with respect to the actions, transactions, conduct
                    24
                         and practices complained of in this Complaint; (c) aided and abetted, in a knowing and
                    25
                         willful manner, said actions, transactions, conduct and practices or (d) during the
                    26
                         period relevant to this action, directly or indirectly, controlled, was controlled by, or
LA10358.222004271




                    27
                         was a controlling person, within the meaning of the Securities Act of 1933, as
                    28


                                                                  - 7 –
                                                                COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 8 of 41 Page ID #:8




                     1
                         amended (the “Securities Act”) and the Exchange Act, of those persons who
                     2
                         participated, conspired, or aided and abetted in said actions, transactions, conduct and
                     3
                         practices.
                     4
                               D. LIABILITY OF CONTROLLING PERSONS AND PERSONS WHO AID AND ABET
                     5
                         VIOLATIONS [15 U.S. Code § 78t].
                     6
                               21.    Pursuant to §78t, every person who, directly or indirectly, controls any
                     7
                         person liable under any provision of this chapter or of any rule or regulation thereunder
                     8
                         shall also be liable jointly and severally with and to the same extent as such controlled
                     9
                         person to any person to whom such controlled person is liable. LAZAR, E.LAZAR,
                    10
                         S.LAZAR, SYTNER and BT.SYTNER controlled each other individual defendant
                    11
                         named herein, along with Defendants DOES 1-10 and collectively such defendants
                    12
                         have committed, conspired to commit and continue to commit a breach of fiduciary
                    13
                         duties, violations of trust, violations of law and other deceptive acts as more
                    14
                         specifically alleged in this Complaint.
                    15
                                                                     III.
                    16
                                                     NATURE OF THE ACTION
                    17
                               22.    As referenced above, STUART formed SuperBox in or about 1999, has
                    18
                         served as its CEO for the past 20 years and has, at all relevant times mentioned herein,
                    19
                         been a shareholder of SuperBox.
                    20
                               23.    Beginning on or about July of 2019, STUART entered into negotiations
                    21
                         with SB CANADA to transfer all material corporate control over SuperBox to
                    22
                         SB CANADA. SB CANADA’s CEO MYRDAL acted on behalf of SB CANADA
                    23
                         in such negotiations.
                    24
                               24.    Discussions between these parties continued for approximately six (6)
                    25
                         months and were completed on or about February 2020.                     On or about
                    26
                         February 28, 2020, a notice of a new Board of Directors and Officers was filed with
LA10358.222004271




                    27
                         the Nevada Secretary of State.        MYRDAL became President and Director of
                    28


                                                                     - 8 –
                                                                   COMPLAINT
                     Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 9 of 41 Page ID #:9




                     1
                         SuperBox, as evidenced by the Certificate of Reinstatement as filed with the Nevada
                     2
                         Secretary of State’s Office on February 28, 2020, having an Effective Date of February
                     3
                         28, 2020, and having been assigned Filing Number (for purposes of identification)
                     4
                         20200511900. A true and correct duplicate of such filing information, as issued by the
                     5
                         Nevada Secretary of State’s Office, is attached hereto as Exhibit 1.
                     6
                               25.    Earlier in that same month, and unbeknownst to STUART, MYRDAL,
                     7
                         SuperBox or SB CANADA, Defendants initiated a lawsuit before the state court in
                     8
                         Clark County, Nevada against SuperBox, filing its initial appearance as well as a
                     9
                         “Motion for Appointment of Custodian” on February 6, 2020. A true and correct copy
                    10
                         of the case information for such matter (commonly referred to by the Eighth Judicial
                    11
                         District Court as ‘Custodian Ventures, LLC, Plaintiff(s) vs. Superbox, Inc. [Nevada
                    12
                         Entity No. C574-1999], Defendant(s)’ and having been assigned case number A-20-
                    13
                         809896-B) as issued by the ‘Eighth Judicial District Court’s Online Portal’ as of the
                    14
                         date of this filing is attached hereto as Exhibit 2. Such matter shall be commonly
                    15
                         referred to herein as the “Custodian Case”.
                    16
                               26.    Four (4) days after such initial filing, on February 10, 2020, Defendants
                    17
                         filed their ‘Certificate of Service’ in the above-referenced Custodian Case, alleging
                    18
                         that they (through their attorney of record) served notice of such “Motion for
                    19
                         Appointment of Custodian” as well as a “Notice of Hearing” – via ‘CERTIFIED
                    20
                         MAIL/RETURN RECEIPT’ on STUART, SuperBox (through its registered agent for
                    21
                         service of process) and to Pacific Stock Transfer (the “Transfer Agent”). A true and
                    22
                         correct copy of such Certificate of Service, dated as of February 10, 2020 is attached
                    23
                         hereto as Exhibit 3.
                    24
                               27.    Notably, no other certificates of service were filed in the above-referenced
                    25
                         Custodian Case.        See, e.g., Case Information, previously referenced herein as
                    26
                         Exhibit 2. The hearing on such matter was scheduled for March 11, 2020.
LA10358.222004271




                    27
                               28.    STUART, whether on behalf of himself and/or on behalf of SuperBox,
                    28


                                                                 - 9 –
                                                               COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 10 of 41 Page ID #:10




                     1
                         did not receive any notice regarding the above-referenced Custodian Case.
                     2
                         Furthermore, SuperBox’s registered agent for service of process did not receive any
                     3
                         notice regarding the above-referenced Custodian Case. The Transfer Agent has never
                     4
                         been authorized to receive service of process on behalf of SuperBox.             Neither
                     5
                         SuperBox nor STUART waived service of process regarding above-referenced
                     6
                         Custodian Case.
                     7
                               29.    On March 4, 2020, the Executive Department of the State of California
                     8
                         declared a State of Emergency to exist in the State as a result of the COVID-19
                     9
                         pandemic. On March 19, 2020, California Governor Gavin Newson, on behalf of the
                    10
                         Executive Department of the State of California, issued its “shelter-in-place” (or “stay-
                    11
                         at-home”) order. See, Executive Order N-33-20.
                    12
                               30.    Beginning on or about March 6, 2020, in light of the COVID-19
                    13
                         pandemic, STUART ceased any and all business-related appointments and travel and
                    14
                         remained isolated in his home with his wife and infant child, conducting all critical
                    15
                         business affairs from his home office.      Neither STUART nor SuperBox had any
                    16
                         knowledge of the March 11, 2020 hearing in the Custodian Case and neither appeared
                    17
                         for such hearing before the Eighth Judicial District Court in Clark County, Nevada.
                    18
                               31.    On March 11, 2020, the Eighth Judicial District Court in Clark County,
                    19
                         Nevada granted petitioner’s unopposed Motion for Appointment of Custodian and
                    20
                         Custodian Ventures became the purported custodian of SuperBox.
                    21
                               32.    On or about April 23, 2020, Defendant LAZAR designated himself as
                    22
                         “President”; “Secretary”; “Treasurer” and “Director” of SuperBox, as evidenced by the
                    23
                         ‘Amended List’ filed with the Nevada Secretary of State’s Office on April 23, 2020,
                    24
                         having been assigned Filing Number (for purposes of identification) 20200619610.
                    25
                         A true and correct duplicate of such filing information, as issued by the Nevada
                    26
                         Secretary of State’s Office, is attached hereto as Exhibit 4. According to recent press
LA10358.222004271




                    27
                         releases, LAZAR also serves as the company’s Chief Executive Officer, Chief
                    28


                                                                 - 10 –
                                                               COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 11 of 41 Page ID #:11




                     1
                         Financial Officer and Chairman of the Board of Directors.
                     2
                               33.    STUART first learned about the Custodian Case and the purported
                     3
                         custodianship over SuperBox on or about April 9, 2020 by email from Tiffany Felton
                     4
                         [tiffany@pacificstocktransfer.com], a representative of the Transfer Agent.
                     5
                               34.    Pursuant to Rule 23.1, after consulting with SB CANADA and
                     6
                         MYRDAL, STUART soon thereafter contacted LAZAR (and his attorney of record,
                     7
                         Peter L. Chasey) by email on behalf of Plaintiff, (i) indicating that STUART was
                     8
                         President and the majority shareholder of SuperBox; (ii) challenging the validity of the
                     9
                         Eighth Judicial District Court’s ruling for lack of personal jurisdiction over SuperBox
                    10
                         (based on failure to effectuate valid service of process); and (iii) requesting that
                    11
                         LAZAR promptly file a resignation with the Nevada Secretary of State to vacate all
                    12
                         director and officer positions and take all reasonable measures to promptly ensure that
                    13
                         the Eighth Judicial District Court’s judgments, orders and/or other relief was vacated.
                    14
                               35.    LAZAR refused, indicating the following:
                    15
                                      “Russell,
                    16

                    17
                                      Newsflash for you, I am the CEO of SBOX and the Majority
                                      Shareholder… This is not my first Rodeo, more like my 70th. So to make
                    18                a long story short, you will need to pay me $25K in order to settle with
                    19                me…, otherwise I will see you in court. …I have a Court Order from the
                                      Judge… If you were wise you would step aside and let me find this
                    20                company a good merger candidate…
                    21
                                      Best, David”
                    22
                               36.    After some investigation, Plaintiff is informed and believes and thereon
                    23
                         alleges that Defendant has perpetrated the same and/or substantially similar fraud on
                    24
                         over twenty-five (25) different corporations across the county, including but not
                    25
                         limited to Zenith Partners International LLC, a California limited liability company
                    26
                         (which, as part of Defendant’s fraudulent scheme, named SYTNER and LAZAR
LA10358.222004271




                    27
                         as co-managing members).       In light of Defendant’s response to Plaintiff’s initial
                    28


                                                                 - 11 –
                                                               COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 12 of 41 Page ID #:12




                     1
                         request for remedial action, Plaintiff is informed and believes and thereon alleges that
                     2
                         any further demand on Defendant would have been futile.
                     3
                               37.      Plaintiff is informed and believes and thereon alleges that Defendant
                     4
                         know and/or should know that, as a touchstone of due process, most state statutes,
                     5
                         including Nevada and California, require that in order to properly confer jurisdiction to
                     6
                         a court over a defendant, a plaintiff and/or petitioner must effectuate valid service of
                     7
                         process by some means authorized by such governing state statute. Examples of such
                     8
                         means of service upon a corporation are personal service, substitute service or (in some
                     9
                         instances, as approved by court order) service by publication. See, e.g., Nevada Rules
                    10
                         of Civil Procedure (NRCP) §4.2(c)(1)(A) [service upon entities within Nevada]; see,
                    11
                         also, CA Rules of Civil Procedure (CCP) §415.10; et seq. [service upon entities within
                    12
                         California.]
                    13
                               38.      Plaintiff is informed and believes and thereon alleges that, in order to
                    14
                         further their deceptive takeover of SuperBox in connection with the sale, acquisition
                    15
                         and/or trading of securities as well as the contravention of such rules and regulations as
                    16
                         promulgated in the public interest, Defendant deliberately failed to effectuate valid
                    17
                         service of process as authorized by NRCP and rather, through the assistance of
                    18
                         Defendant’s attorney, sent invalid notice, purportedly by certified mailing, and
                    19
                         thereafter filed its facially defective Certificate of Service with the Eighth Judicial
                    20
                         District Court in Clark County, Nevada.
                    21
                               39.      Defendant failed to confer jurisdiction to the Eighth Judicial District
                    22
                         Court in Clark County, Nevada over SuperBox and any and all orders, judgments and
                    23
                         findings issued therefrom are legally invalid and must be vacated.
                    24
                               40.      LAZAR is 29-years-old (as of the date of this Complaint).
                    25   ///
                    26
                         ///
                                                [Remainder of page intentionally left blank.]
LA10358.222004271




                    27

                    28


                                                                  - 12 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 13 of 41 Page ID #:13




                     1
                                                                  IV.
                     2
                                                FIRST CAUSE OF ACTION
                     3                     VIOLATION OF §10(b) AND RULE 10b-5
                     4
                                          UNDER THE SECURITIES EXCHANGE ACT
                                              (Against Each Defendant and DOES 1-10)
                     5
                               41.   Plaintiff incorporates by reference, as though fully set forth herein, each
                     6
                         of the aforementioned allegations contained in this Complaint.
                     7
                               42.   Defendants acted in concert with one another to knowingly engage in
                     8
                         fraudulent acts, practices and courses of dealing through material deception,
                     9
                         misrepresentation and/or wrongful non-disclosure of material information in
                    10
                         connection with its deceptive takeover of SuperBox; its acquisition and offering of
                    11
                         shares of common stock in SuperBox for sale; and to defraud its shareholders, as
                    12
                         referenced by 17 C.F.R. §240.10b-5; §3(a)(10) of the Exchange Act.
                    13
                               43.   Defendants had adopted a plan to eliminate the board of directors, officers
                    14
                         and/or directors of SuperBox by falsely representing to shareholders and the above-
                    15
                         referenced court that they had effectuated valid service of process upon SuperBox of
                    16
                         the Custodian Case with the knowledge that this was materially false; Defendants had
                    17
                         actively concealed their invalid service of process and defective notice with the
                    18
                         intention that no SuperBox representatives would appear to oppose their motion to
                    19
                         appoint a custodian. These false representations were adopted as an artifice employed
                    20
                         for the sole purpose of circumventing the merits of a SuperBox opposition and to
                    21
                         secure control and authority over SuperBox and the acquisition, transfer, purchase
                    22
                         and/or sale of its shares, including a minimum 100,000 shares of SuperBox common
                    23
                         stock. Within days after securing a court order, Defendants actively eliminated the
                    24
                         board of directors, officers and/or directors of SuperBox with its own representatives
                    25
                         under the color of right and authority to the detriment of SuperBox and its
                    26
                         shareholders.
LA10358.222004271




                    27
                               44.   In reliance on Defendant’s fraudulent scheme and due, in part, to the
                    28


                                                                - 13 –
                                                              COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 14 of 41 Page ID #:14




                     1
                         material depreciation of the fair market value of the underlying securities as a result of
                     2
                         Defendant’s takeover, Plaintiff has changed its position and offered to sell their
                     3
                         SuperBox holdings at a discount and to their own detriment, loss and damage.
                     4
                               45.    Defendant’s non-disclosure of material information was wrongfully
                     5
                         withheld and/or concealed at such times when Defendants had a fiduciary, contractual
                     6
                         and/or ethical duty to impart material information to the above-referenced court,
                     7
                         SuperBox and/or its shareholders. Furthermore, Defendants’ misrepresentations were
                     8
                         materially deceptive and/or false at the time they were made.
                     9
                               46.    The nature, quality and character of Defendants’ misrepresentations along
                    10
                         with the information Defendants wrongfully withheld and/or concealed from Plaintiff
                    11
                         had a substantial likelihood of influencing a reasonable investor, issuer and/or
                    12
                         shareholder in engaging in the subject transaction for the purchase and sale of the
                    13
                         above-referenced securities and options to purchase further securities. Furthermore,
                    14
                         Defendants’ misrepresentations and deceptive concealment of material information,
                    15
                         along with Plaintiff’s reasonable reliance thereon, proximately caused and/or induced
                    16
                         Plaintiff to engage in the above-referenced securities transactions which resulted in
                    17
                         Plaintiff’s economic losses and other damages.
                    18
                               47.    The acts and/or omissions as alleged in this cause of action were willful,
                    19
                         deceptive, wanton, malicious and oppressive and were undertaken with the intent of
                    20
                         each Defendant named herein and DOES 1-10 to join in concert and cooperatively
                    21
                         defraud Plaintiff and thus an award of punitive damages against Defendants and each
                    22
                         of them, jointly and severally.
                    23
                               48.    Defendant failed to confer jurisdiction to the Eighth Judicial District
                    24
                         Court in Clark County, Nevada over SuperBox and, therefore, Plaintiff further prays
                    25
                         that (i) all judgments, orders and/or other relief granted to Defendant by such court be
                    26
                         vacated and rendered invalid; and (ii) that each transfer of monies, securities, as well
LA10358.222004271




                    27
                         as any and all actions taken on behalf of SuperBox after any such judgment, order
                    28


                                                                  - 14 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 15 of 41 Page ID #:15




                     1
                         and/or other relief be declared void.
                     2
                               49.    Plaintiff estimates the total damages proximately caused by the actions
                     3
                         and omissions of the Defendant set forth in this cause of action include, but are not
                     4
                         limited to, that sum certain amount of approximately $300,000.00, together with
                     5
                         interest and associated transaction costs.
                     6
                               50.    WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                     7
                         of them, jointly and severally, as more fully set forth below.
                     8
                                                                      V.
                     9
                                                    SECOND CAUSE OF ACTION
                    10
                                                     FRAUD [CA Civ. Code §1709]
                    11
                                               (Against Each Defendant and DOES 1-10)
                    12
                               51.    Plaintiff incorporates by reference, as though fully set forth herein, each
                    13
                         of the aforementioned allegations contained in this Complaint.
                    14
                               52.    As referenced above, Defendant concealed and/or suppressed material
                    15
                         facts related to the purported service of process upon SuperBox. Defendant had a duty
                    16
                         to give proper notice of the Custodian Case to Plaintiff, yet the Defendants
                    17
                         intentionally concealed and/or suppressed such notice with the intent to defraud the
                    18
                         Plaintiff from its opportunity to appear before the above-referenced court and oppose
                    19
                         its motion for the appointment of a custodian.
                    20
                               53.    This concealment and false representations to the court were adopted as
                    21
                         an artifice employed for the sole purpose of circumventing the merits of a SuperBox
                    22
                         opposition and to secure control and authority over SuperBox and the acquisition,
                    23
                         transfer, purchase and/or sale of its shares. Plaintiff was unaware of the Custodian
                    24
                         Case and Defendant’s motion for the appointment of a custodian and would have
                    25
                         appeared to challenge such appointment had Plaintiff been aware of such hearing.
                    26
                               54.    As a result of Defendant’s concealment and/or suppression of the material
LA10358.222004271




                    27
                         facts of such case and associated hearings, Plaintiff sustained damages.
                    28


                                                                   - 15 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 16 of 41 Page ID #:16




                     1
                               55.    The acts and/or omissions as alleged in this cause of action were willful,
                     2
                         deceptive, wanton, malicious and oppressive and were undertaken with the intent of
                     3
                         each Defendant named herein and DOES 1-10 to join in concert and cooperatively
                     4
                         defraud Plaintiff and thus an award of punitive damages against Defendants and each
                     5
                         of them, jointly and severally.
                     6
                               56.    Defendant failed to confer jurisdiction to the Eighth Judicial District
                     7
                         Court in Clark County, Nevada over SuperBox and, therefore, Plaintiff further prays
                     8
                         that (i) all judgments, orders and/or other relief granted to Defendant by such court be
                     9
                         vacated and rendered invalid; and (ii) that each transfer of monies, securities, as well
                    10
                         as any and all actions taken on behalf of SuperBox after any such judgment, order
                    11
                         and/or other relief be declared void.
                    12
                               57.    Plaintiff estimates the total damages proximately caused by the actions
                    13
                         and omissions of the Defendant set forth in this cause of action include, but are not
                    14
                         limited to, that sum certain amount of approximately $300,000.00, together with
                    15
                         interest and associated transaction costs.
                    16
                               58.    WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    17
                         of them, jointly and severally, as more fully set forth below.
                    18
                                                                      VI.
                    19
                                                     THIRD CAUSE OF ACTION
                    20
                                         VIOLATION OF CA CORP. CODE §§25401, 25501
                    21
                                               (Against Each Defendant and DOES 1-10)
                    22
                               59.    Plaintiff incorporates by reference, as though fully set forth herein, each
                    23
                         of the aforementioned allegations contained in this Complaint.
                    24
                               60.    Plaintiff incorporates by reference, as though fully set forth herein, each
                    25
                         of the allegations contained in paragraphs 1 through 100, inclusive, of this Complaint.
                    26
                               61.    Defendants each participated in intentionally making and/or substantiating
LA10358.222004271




                    27
                         certain untrue statements of material fact, through oral and/or written representations,
                    28


                                                                   - 16 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 17 of 41 Page ID #:17




                     1
                         and/or omitted to state one or more material facts necessary in order to make the
                     2
                         statements made, in light of the circumstances under which they were made, not
                     3
                         misleading, as more specifically described above.
                     4
                               62.    Such materially misleading statements were made to fraudulently induce
                     5
                         Plaintiff to engage in the above-referenced securities transactions conducted in the
                     6
                         State of California.
                     7
                               63.    On information and belief, each Defendant either: (a) participated in the
                     8
                         actions, transactions, conduct and practices complained of in this Complaint; (b)
                     9
                         approved, agreed to and conspired with respect to the actions, transactions, conduct
                    10
                         and practices complained of in this Complaint; (c) aided and abetted, in a knowing and
                    11
                         willful manner, said actions, transactions, conduct and practices or (d) during the
                    12
                         period relevant to this action, directly or indirectly, controlled, was controlled by, or
                    13
                         was a controlling person, within the meaning of the Securities Act and the Exchange
                    14
                         Act, of those persons who participated, conspired, or aided and abetted in said actions,
                    15
                         transactions, conduct and practices.
                    16
                               64.    The acts and/or omissions as alleged in this cause of action were willful,
                    17
                         deceptive, wanton, malicious and oppressive and were undertaken with the intent of
                    18
                         each Defendant named herein and DOES 1-10 to join in concert and cooperatively
                    19
                         defraud Plaintiff and thus an award of punitive damages against Defendants and each
                    20
                         of them, jointly and severally.
                    21
                               65.    Defendant failed to confer jurisdiction to the Eighth Judicial District
                    22
                         Court in Clark County, Nevada over SuperBox and, therefore, Plaintiff further prays
                    23
                         that (i) all judgments, orders and/or other relief granted to Defendant by such court be
                    24
                         vacated and rendered invalid; and (ii) that each transfer of monies, securities, as well
                    25
                         as any and all actions taken on behalf of SuperBox after any such judgment, order
                    26
                         and/or other relief be declared void.
LA10358.222004271




                    27
                               66.    Plaintiff estimates the total damages proximately caused by the actions
                    28


                                                                   - 17 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 18 of 41 Page ID #:18




                     1
                         and omissions of the Defendant set forth in this cause of action include, but are not
                     2
                         limited to, that sum certain amount of approximately $300,000.00, together with
                     3
                         interest and associated transaction costs.
                     4
                               67.    WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                     5
                         of them, jointly and severally, as more fully set forth below.
                     6
                                                                      VII.
                     7
                                                    FOURTH CAUSE OF ACTION
                     8
                           VIOLATION OF CA BUSINESS AND PROFESSIONS CODE §17200 et seq.
                     9
                                               (Against Each Defendant and DOES 1-10)
                    10
                               68.    Plaintiff incorporates by reference, as though fully set forth herein, each
                    11
                         of the aforementioned allegations contained in this Complaint.
                    12
                               69.    In making the false representations, concealment and suppression of
                    13
                         material facts, and in the other practices alleged herein, Defendants, and each of them,
                    14
                         personally engaged in, conspired to engage in, and are currently engaged in unlawful,
                    15
                         fraudulent, and unfair business practices, in violation of California Business and
                    16
                         Professions Code §17200 et seq.
                    17
                               70.    Specifically, Defendants, and each of them, committed acts of unfair and
                    18
                         fraudulent business practices by engaging in deceptive acts and acquiring interest in
                    19
                         money, securities and/or other property under false pretenses, as alleged herein. In
                    20
                         addition, Defendants, and each of them, conspired to commit and committed acts of
                    21
                         unfair practices and conspired to acquire and acquired interests in money, securities
                    22
                         and/or other property by means of such unfair practices by engaging in unlawful acts,
                    23
                         including but not limited to violation of 18 U.S.C. §1341, prohibiting mail fraud and
                    24
                         violation of 18 U.S.C. §1343, prohibiting wire fraud.
                    25
                               71.    Based on information and belief, Plaintiff alleges that the aforementioned
                    26
                         conduct by Defendants and DOES 1-10, and each of them, represents conduct often
LA10358.222004271




                    27
                         repeated and which wrongfully affects consumers, investors, creditors, lenders and/or
                    28


                                                                  - 18 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 19 of 41 Page ID #:19




                     1
                         members of the public engaged in good faith business practices in the State of
                     2
                         California.
                     3
                               72.     By reason of the foregoing, Defendants have been engaged in unlawful,
                     4
                         unfair and/or fraudulent business practices in violation of California Business and
                     5
                         Professions Code §17200 and acts of unfair competition in violation of common law.
                     6
                               73.     Plaintiff has suffered injury in fact and has suffered monetary damages,
                     7
                         among other injuries, proximately caused by Defendants’ unfair and fraudulent
                     8
                         business practices and, therefore, Plaintiff is entitled to full and complete restitution,
                     9
                         including court costs and attorneys’ fees, from Defendants, and each of them, jointly
                    10
                         and severally.
                    11
                               74.     Defendant failed to confer jurisdiction to the Eighth Judicial District
                    12
                         Court in Clark County, Nevada over SuperBox and, therefore, Plaintiff further prays
                    13
                         that (i) all judgments, orders and/or other relief granted to Defendant by such court be
                    14
                         vacated and rendered invalid; and (ii) that each transfer of monies, securities, as well
                    15
                         as any and all actions taken on behalf of SuperBox after any such judgment, order
                    16
                         and/or other relief be declared void.
                    17
                               75.     Plaintiff estimates the total damages proximately caused by the actions
                    18
                         and omissions of the Defendant set forth in this cause of action include, but are not
                    19
                         limited to, that sum certain amount of approximately $300,000.00, together with
                    20
                         interest and associated transaction costs.
                    21
                               76.     WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    22
                         of them, jointly and severally, as more fully set forth below.
                    23
                                                                      VIII.
                    24
                                                      FIFTH CAUSE OF ACTION
                    25
                                                             CONVERSION
                    26
                                                (Against Each Defendant and Does 1-10)
LA10358.222004271




                    27
                               77.     Plaintiff incorporates by reference, as though fully set forth herein, each
                    28


                                                                   - 19 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 20 of 41 Page ID #:20




                     1
                         of the aforementioned allegations contained in this Complaint.
                     2
                               78.    At all times herein mentioned, and in particular, prior to the judgments,
                     3
                         orders and/or other relief granted to Defendant by the Eighth Judicial District Court in
                     4
                         Clark County, Nevada, Plaintiff together comprised the majority shareholders of
                     5
                         SuperBox.
                     6
                               79.    Plaintiff is informed and believes and thereon alleges that Defendants, and
                     7
                         each of them, have breached their respective duties as owed to Plaintiff by engaging in,
                     8
                         participating in, aiding and abetting, and facilitating unlawful actions, or omissions,
                     9
                         including, but not limited to, violation of federal and state regulations and principles of
                    10
                         common law as recognized by the State of California.
                    11
                               80.    Each Defendant named herein knowingly and willingly conspired and
                    12
                         agreed among themselves to fraudulently and wrongfully obtain and permanently
                    13
                         deprive securities, property and monies from the Plaintiff and to unlawfully divert such
                    14
                         items to themselves without adequate consideration in furtherance of their own
                    15
                         pecuniary interests and inconsistent with Plaintiff’s rights and/or interests.
                    16
                               81.    Plaintiff has demanded that Defendants return the above-mentioned items
                    17
                         but Defendants failed and refused, and continue to fail and refuse such return.
                    18
                               82.    The acts as alleged in this cause of action were willful, deceptive, wanton,
                    19
                         malicious and oppressive and were undertaken with the intent of each Defendant
                    20
                         named herein and DOES 1-10 to join in concert and cooperatively defraud Plaintiff
                    21
                         and thus, in addition to compensatory damages, justify the awarding of consequential
                    22
                         damages, attorneys’ fees, costs of suit and punitive damages against Defendants, and
                    23
                         each of them, jointly and severally.
                    24
                               83.    Plaintiff estimates the total damages proximately caused by the actions
                    25
                         and omissions of the Defendant set forth in this cause of action include, but are not
                    26
                         limited to, that sum certain amount of approximately $300,000.00, together with
LA10358.222004271




                    27
                         interest and associated transaction costs.
                    28


                                                                   - 20 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 21 of 41 Page ID #:21




                     1
                               84.    Plaintiff further prays that an equitable lien and other injunctive relief is
                     2
                         justifiable and proper to prevent dissipation and waste of wrongfully obtained funds
                     3
                         pursuant to California Civil Code §2872; Cal. Code Civ. Pro. §§525 et seq.).
                     4
                               85.    WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                     5
                         of them, as more fully set forth below.
                     6
                                                                     IX.
                     7
                                                      SIXTH CAUSE OF ACTION
                     8
                                               NEGLIGENT MISREPRESENTATION
                     9
                                                 (Against Each Defendant and Does 1-10)
                    10
                               86.    Plaintiff incorporates by reference, as though fully set forth herein, each
                    11
                         of the aforementioned allegations contained in this Complaint.
                    12
                               87.    Each of the representations identified herein were false.
                    13
                               88.    At the time Defendants, and each of them, made said false
                    14
                         representations, Defendants, and each of them, had no reasonable grounds for
                    15
                         believing the statements to be true.
                    16
                               89.    At the time Defendants, and each of them, made said false
                    17
                         representations, such Defendants implied that they had knowledge of the true facts but
                    18
                         in fact were actually ignorant of the true facts.
                    19
                               90.    Said false representations were made without regard for the truth of said
                    20
                         representations and with the intent that Plaintiff rely on said representations.
                    21
                               91.    Plaintiff actually and justifiably relied on said false representations and
                    22
                         was damaged as a direct and proximate result of said false representations.
                    23
                               92.    As a direct and proximate result of the deceptive acts and/or omissions of
                    24
                         the Defendants, and each of them, Plaintiff suffered injuries in the sum according to
                    25
                         proof at trial in amounts no less than $300,000.00, together with interest and associated
                    26
                         transaction costs.
LA10358.222004271




                    27
                               93.    WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    28


                                                                   - 21 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 22 of 41 Page ID #:22




                     1
                         of them, as more fully set forth below.
                     2
                                                                     X.
                     3
                                                       SEVENTH CAUSE OF ACTION
                     4
                                                         UNJUST ENRICHMENT
                     5
                                                 (Against Each Defendant and DOES 1-10)
                     6
                                94.     Plaintiff incorporates by reference, as though fully set forth herein, each
                     7
                         of the aforementioned allegations contained in this Complaint.
                     8
                                95.     Defendants and DOES 1-10, and each of them, failed to give Plaintiff
                     9
                         adequate consideration for the benefits enjoyed from each such Defendant’s wrongful
                    10
                         use, enjoyment and/or receipt of the monies, securities and/or other benefits identified
                    11
                         herein.
                    12
                                96.     Defendants and DOES 1-10, and each of them, have each been unjustly
                    13
                         enriched as a result of such above-mentioned wrongful use, enjoyment and/or receipt
                    14
                         of the monies and/or other benefits identified herein, which were wrongfully obtained
                    15
                         by means of deceit, concealment and false promises wrongfully perpetrated upon
                    16
                         Plaintiff to its detriment.
                    17
                                97.     It is unconscionable and inequitable for Defendants to retain such
                    18
                         wrongfully obtained benefits.
                    19
                                98.     WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    20
                         of them, as more fully set forth below.
                    21
                                                                    XI.
                    22
                                                       EIGHTH CAUSE OF ACTION
                    23
                                                       BREACH OF FIDUCIARY DUTY
                    24
                                      (Against Each Defendant and DOES 1-10 on behalf of SuperBox)
                    25
                                99.     Plaintiff incorporates by reference, as though fully set forth herein, each
                    26
                         of the aforementioned allegations contained in this Complaint.
LA10358.222004271




                    27
                                100. Defendants, as officers, directors, authorized representatives, agents
                    28


                                                                   - 22 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 23 of 41 Page ID #:23




                     1
                         and/or controlling persons of/over SuperBox, were and are required to use their
                     2
                         business judgment and reasonable abilities to control and manage SuperBox in the fair,
                     3
                         just and equitable manner; to refrain from abusing their positions of control; and to
                     4
                         avoid favoring their own interest at the expense of SuperBox and its shareholders.
                     5
                         Defendants violated their fiduciary duties to SuperBox and its shareholders including
                     6
                         without limitation their duties of care, loyalty, good faith and their duty to avoid self-
                     7
                         dealing transactions.
                     8
                               101. The wrongful conduct particularized herein was not due to an honest error
                     9
                         in judgment but rather to defraud SuperBox and its shareholders. As a result of the
                    10
                         foregoing, Defendants have participated in harming SuperBox and its shareholders and
                    11
                         have breached fiduciary duties owed to SuperBox and its shareholders. Defendants
                    12
                         knowingly aided, encouraged, cooperated and/or participated in and substantially
                    13
                         assisted the other Defendants in the breaches of their fiduciary duties.
                    14
                               102. As a result of the foregoing, SuperBox and its shareholders have sustained
                    15
                         and will continue to sustain damages and injuries for which it has no adequate remedy
                    16
                         at law.
                    17
                               103. WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    18
                         of them, as more fully set forth below.
                    19
                                                                   XII.
                    20
                                                    NINETH CAUSE OF ACTION
                    21
                                                         ABUSE OF CONTROL
                    22
                                   (Against Each Defendant and DOES 1-10 on behalf of SuperBox)
                    23
                               104. Plaintiff incorporates by reference, as though fully set forth herein, each
                    24
                         of the aforementioned allegations contained in this Complaint.
                    25
                               105. By virtue of their positions and/or financial holdings in SuperBox,
                    26
                         Defendants exercised control over SuperBox and owed duties (as officers, directors,
LA10358.222004271




                    27
                         authorized representatives, agents and/or controlling persons of/over SuperBox) not to
                    28


                                                                  - 23 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 24 of 41 Page ID #:24




                     1
                         use their positions of control within the company for their own personal gains and
                     2
                         interests at the expense and contrary to the interest of SuperBox and its shareholders.
                     3
                         Defendant’s conduct amounts to an abuse of their control over SuperBox in violation
                     4
                         of their obligations to SuperBox and its shareholders.
                     5
                                106. Defendants knowingly aided, encouraged, cooperated and/or participated
                     6
                         in and substantially assisted the other Defendants in the breaches of their fiduciary
                     7
                         duties.
                     8
                                107. As a result of the foregoing, SuperBox and its shareholders have sustained
                     9
                         and will continue to sustain damages and injuries for which it has no adequate remedy
                    10
                         at law.
                    11
                                108. WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                    12
                         of them, as more fully set forth below.
                    13
                                                                   XIII.
                    14
                                                       TENTH CAUSE OF ACTION
                    15
                                                        UNJUST ENRICHMENT
                    16
                                    (Against Each Defendant and DOES 1-10 on behalf of SuperBox)
                    17
                                109. Plaintiff incorporates by reference, as though fully set forth herein, each
                    18
                         of the aforementioned allegations contained in this Complaint.
                    19
                                110. Defendants and DOES 1-10, and each of them, failed to give Plaintiff
                    20
                         adequate consideration for the benefits enjoyed from each such Defendant’s wrongful
                    21
                         use, enjoyment and/or receipt of the monies, securities and/or other benefits identified
                    22
                         herein.
                    23
                                111. Defendants and DOES 1-10, and each of them, have each been unjustly
                    24
                         enriched as a result of such above-mentioned wrongful use, enjoyment and/or receipt
                    25
                         of the monies and/or other benefits identified herein, which were wrongfully obtained
                    26
                         by means of deceit, concealment and false promises wrongfully perpetrated upon
LA10358.222004271




                    27
                         Plaintiff to its detriment.
                    28


                                                                 - 24 –
                                                               COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 25 of 41 Page ID #:25




                     1
                               112. It is unconscionable and inequitable for Defendants to retain such
                     2
                         wrongfully obtained benefits.
                     3
                               113. WHEREFORE, Plaintiff prays for judgment against Defendants, and each
                     4
                         of them, as more fully set forth below.
                     5
                                                                    XIV.
                     6
                                                         PRAYER FOR RELIEF
                     7
                               WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of
                     8
                         them, jointly and severally, as follows:
                     9
                                                  ON THE FIRST CAUSE OF ACTION
                    10
                               1.     For general damages according to proof at time of trial, but not less than
                    11
                         $300,000.00 plus interest at the maximum legal rate;
                    12
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    13
                         relief issued in favor of Defendant against these Plaintiffs;
                    14
                               3.     For reasonable attorneys’ fees;
                    15
                               4.     For costs of suit incurred herein; and
                    16
                               5.     For such other and further relief as the Court deems just and proper.
                    17
                                                ON THE SECOND CAUSE OF ACTION
                    18
                               1.     For compensatory damages according to proof at time of trial, but not less
                    19
                         than $300,000.00 plus interest at the maximum legal rate;
                    20
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    21
                         relief issued in favor of Defendant against these Plaintiffs;
                    22
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                    23
                         result of the wrongful conduct as alleged herein;
                    24
                               4.     For consequential damages;
                    25
                               5.     For punitive damages;
                    26
                               6.     For reasonable attorneys’ fees;
LA10358.222004271




                    27
                               7.     For costs of suit incurred herein;
                    28


                                                                  - 25 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 26 of 41 Page ID #:26




                     1
                               8.     For injunctive relief that is justifiable and proper to prevent dissipation
                     2
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                     3
                         Code Civ. Pro. §§525 et seq.); and
                     4
                               9.     For such other and further relief as the Court deems just and proper.
                     5
                                                 ON THE THIRD CAUSE OF ACTION
                     6
                               1.     For general damages according to proof at time of trial, plus interest at the
                     7
                         maximum legal rate;
                     8
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                     9
                         relief issued in favor of Defendant against these Plaintiffs;
                    10
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                    11
                         result of the wrongful conduct as alleged herein;
                    12
                               4.     For injunctive relief that is justifiable and proper to prevent dissipation
                    13
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                    14
                         Code Civ. Pro. §§525 et seq.); and
                    15
                               5.     For reasonable attorneys’ fees;
                    16
                               6.     For costs of suit incurred herein; and
                    17
                               7.     For such other and further relief as the Court deems just and proper.
                    18
                                                ON THE FOURTH CAUSE OF ACTION
                    19
                               1.     For compensatory damages according to proof at time of trial, but not less
                    20
                         than $300,000.00 plus interest at the maximum legal rate;
                    21
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    22
                         relief issued in favor of Defendant against these Plaintiffs;
                    23
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                    24
                         result of the wrongful conduct as alleged herein;
                    25
                               4.     For injunctive relief that is justifiable and proper to prevent dissipation
                    26
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
LA10358.222004271




                    27
                         Code Civ. Pro. §§525 et seq.); and
                    28


                                                                  - 26 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 27 of 41 Page ID #:27




                     1
                               5.     For reasonable attorneys’ fees;
                     2
                               6.     For costs of suit incurred herein; and
                     3
                               7.     For such other and further relief as the Court deems just and proper.
                     4
                                                  ON THE FIFTH CAUSE OF ACTION
                     5
                               1.     For damages according to proof at time of trial, but not less than
                     6
                         $300,000.00 plus interest at the maximum legal rate;
                     7
                               2.     For restitution, disgorgement of illicit proceeds and gains generated as a
                     8
                         result of the wrongful conduct as alleged herein;
                     9
                               3.     For declaratory relief, vacating any and all judgments, orders and/or other
                    10
                         relief issued in favor of Defendant against these Plaintiffs;
                    11
                               4.     For injunctive relief that is justifiable and proper to prevent dissipation
                    12
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                    13
                         Code Civ. Pro. §§525 et seq.);
                    14
                               5.     For reasonable attorneys’ fees;
                    15
                               6.     For costs of suit incurred herein; and
                    16
                               7.     For such other and further relief as the Court deems just and proper.
                    17
                                                 ON THE SIXTH CAUSE OF ACTION
                    18
                               1.     For damages according to proof at time of trial, but not less than
                    19
                         $300,000.00 plus interest at the maximum legal rate;
                    20
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    21
                         relief issued in favor of Defendant against these Plaintiffs;
                    22
                               3.     For injunctive relief that is justifiable and proper to prevent dissipation
                    23
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                    24
                         Code Civ. Pro. §§525 et seq.); and
                    25
                               4.     For such other and further relief as the Court deems just and proper.
                    26
LA10358.222004271




                    27

                    28


                                                                  - 27 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 28 of 41 Page ID #:28




                     1
                                               ON THE SEVENTH CAUSE OF ACTION
                     2
                               1.     For damages according to proof at time of trial, but not less than
                     3
                         $300,000.00 plus interest at the maximum legal rate;
                     4
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                     5
                         relief issued in favor of Defendant against these Plaintiffs;
                     6
                               3.     For injunctive relief that is justifiable and proper to prevent dissipation
                     7
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                     8
                         Code Civ. Pro. §§525 et seq.); and
                     9
                               4.     For such other and further relief as the Court deems just and proper.
                    10
                                                ON THE EIGHTH CAUSE OF ACTION
                    11
                               1.     For compensatory damages according to proof at time of trial, but not less
                    12
                         than $300,000.00 plus interest at the maximum legal rate;
                    13
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    14
                         relief issued in favor of Defendant against these Plaintiffs;
                    15
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                    16
                         result of the wrongful conduct as alleged herein;
                    17
                               4.     For reasonable attorneys’ fees, costs of suit incurred herein;
                    18
                               5.     For injunctive relief that is justifiable and proper to prevent dissipation
                    19
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                    20
                         Code Civ. Pro. §§525 et seq.); and
                    21
                               6.     For such other and further relief as the Court deems just and proper.
                    22
                                                ON THE NINETH CAUSE OF ACTION
                    23
                               1.     For compensatory damages according to proof at time of trial, but not less
                    24
                         than $300,000.00 plus interest at the maximum legal rate;
                    25
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    26
                         relief issued in favor of Defendant against these Plaintiffs;
LA10358.222004271




                    27

                    28


                                                                  - 28 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 29 of 41 Page ID #:29




                     1
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                     2
                         result of the wrongful conduct as alleged herein;
                     3
                               4.     For reasonable attorneys’ fees, costs of suit incurred herein;
                     4
                               5.     For injunctive relief that is justifiable and proper to prevent dissipation
                     5
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                     6
                         Code Civ. Pro. §§525 et seq.); and
                     7
                               6.     For such other and further relief as the Court deems just and proper.
                     8
                                                 ON THE TENTH CAUSE OF ACTION
                     9
                               1.     For compensatory damages according to proof at time of trial, but not less
                    10
                         than $300,000.00 plus interest at the maximum legal rate;
                    11
                               2.     For declaratory relief, vacating any and all judgments, orders and/or other
                    12
                         relief issued in favor of Defendant against these Plaintiffs;
                    13
                               3.     For restitution, disgorgement of illicit proceeds and gains generated as a
                    14
                         result of the wrongful conduct as alleged herein;
                    15
                               4.     For reasonable attorneys’ fees, costs of suit incurred herein;
                    16
                               5.     For injunctive relief that is justifiable and proper to prevent dissipation
                    17
                         and waste of wrongfully obtained gains pursuant to California Civil Code §2872; Cal.
                    18
                         Code Civ. Pro. §§525 et seq.); and
                    19
                               6.     For such other and further relief as the Court deems just and proper.
                    20
                         DATED: April 29, 2020                   Respectfully submitted,
                    21
                                                                 LAW OFFICES OF COLE SHERIDAN
                    22

                    23
                                                                 By: _________________________________
                    24                                               COLE R. SHERIDAN,
                    25                                               Attorney for Plaintiffs,
                                                                     Russell Stuart, an individual;
                    26                                               Superbox Holdings Canada Inc.; and
                                                                     Douglas Myrdal, an individual (and each
LA10358.222004271




                    27
                                                                     derivatively on behalf of SuperBox, Inc.)
                    28


                                                                  - 29 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 30 of 41 Page ID #:30




                     1

                     2
                                                            JURY TRIAL DEMAND
                               Plaintiff hereby demands a trial by jury of all issues which are subject to
                     3
                         adjudication by a trier of fact.
                     4

                     5
                         DATED: April 29, 2020                   Respectfully submitted,
                     6
                                                                 LAW OFFICES OF COLE SHERIDAN
                     7

                     8

                     9                                           By: _________________________________
                    10                                               COLE R. SHERIDAN,
                                                                     Attorney for Plaintiffs,
                    11                                               Russell Stuart, an individual;
                    12                                               Superbox Holdings Canada Inc.; and
                                                                     Douglas Myrdal, an individual (and each
                    13
                                                                     derivatively on behalf of SuperBox, Inc.)
                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26
LA10358.222004271




                    27

                    28


                                                                   - 30 –
                                                                 COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 31 of 41 Page ID #:31




                     1
                                                            VERIFICATION
                     2
                                 I, RUSSELL STUART, am a party to this action and am a shareholder of
                     3
                         SuperBox, Inc.     I have read the foregoing Complaint and know its contents.
                     4
                         The matters stated therein are true based on my own knowledge, except as to those
                     5
                         matters stated on information and belief, and as to those matters I believe them to be
                     6
                         true.   I hereby declare under penalty of perjury under the laws of the State of
                     7
                         California that the foregoing is true and correct.
                     8

                     9
                         DATED: April 29, 2020
                    10

                    11
                                                                     By:______________________________
                                                                          RUSSELL STUART,
                    12                                                    an individual
                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26
LA10358.222004271




                    27

                    28


                                                                  - 31 –
                                                                COMPLAINT
                    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 32 of 41 Page ID #:32




                     1
                                                            VERIFICATION
                     2
                                 I, DOUGLAS MYRDAL, am a party to this action and am a shareholder of
                     3
                         SuperBox, Inc. I am also Chief Executive Officer of Superbox Holdings Canada Inc.
                     4
                         and am authorized to make to make this verification on its behalf. I hereby declare,
                     5
                         both on behalf of myself as an individual as well as on behalf of Superbox Holdings
                     6
                         Canada Inc. that I have read the foregoing Complaint and know its contents.
                     7
                         The matters stated therein are true based on my own knowledge, except as to those
                     8
                         matters stated on information and belief, and as to those matters I believe them to be
                     9
                         true.   I hereby declare under penalty of perjury under the laws of the State of
                    10
                         California that the foregoing is true and correct.
                    11

                    12
                         DATED: April 29, 2020
                    13

                    14
                                                                     By:______________________________
                                                                          DOUGLAS MYRDAL,
                    15                                                    an individual and
                    16                                                    CEO of Superbox Holdings
                                                                          Canada Inc.
                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26
LA10358.222004271




                    27

                    28


                                                                  - 32 –
                                                                COMPLAINT
  Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 33 of 41 Page ID #:33


                                          EXHIBIT 1


ENTITY INFORMATION


  ENTITY INFORMATION


    Entity Name:
    SUPERBOX, INC.
    Entity Number:
    C574-1999

    Entity Type:
    Domestic Corporation (78)
    Entity Status:
    Active

    Formation Date:
    01/12/1999
    NV Business ID:
    NV19991147125

    Termination Date:
    Perpetual
    Annual Report Due Date:
    1/31/2021



  REGISTERED AGENT INFORMATION

    Name of Individual or Legal Entity:
    QUASAR CORPORATE SERVICES
    Status:
    Active
    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 34 of 41 Page ID #:34
        CRA Agent Entity Type:
        Registered Agent Type:
        Non-Commercial Registered Agent

        NV Business ID:
        Oﬀice or Position:

        Jurisdiction:

        Street Address:
        8275 S EASTERN AVENUE SUITE 200, LAS VEGAS, NV, 89123, USA

        Mailing Address:

        Individual with Authority to Act:

        Fictitious Website or Domain Name:




 OFFICER INFORMATION
     VIEW HISTORICAL DATA

                                                                                                           Last
Title        Name                    Address                                                               Updated      Status

President Douglas                    34378 Manufacturers Way, #25, Abbotsford, British Columbia, V2S       02/28/2020   Active
          Myrdal                     7M1, CAN

Secretary Keith Lloyd                3102 Whitehorn Court, Coquitlam, British Columbia, V3E 2R6, CAN       02/28/2020   Active

Treasurer Keith Lloyd                3102 Whitehorn Court, Coquitlam, British Columbia, V3E 2R6, CAN       02/28/2020   Active

Director     Douglas                 4378 Manufacturers Way, #25, Abbotsford, British Columbia, V2S 7M1,   02/28/2020   Active
             Myrdal                  CAN

Director     Keith Lloyd             3102 Whitehorn Court, Coquitlam, British Columbia, V3E 2R6, CAN       02/28/2020   Active

  Page 1 of 1, records 1 to 5 of 5


CURRENT SHARES

Class/Series                            Type                         Share Number                 Value

                                        Authorized                   100,000,000                  0.001000000000
      Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 35 of 41 Page ID #:35
Class/Series                           Type                      Share Number                  Value

                                       Authorized                5,000,000                     0.010000000000

    Page 1 of 1, records 1 to 2 of 2



Number of No Par Value Shares:
0

Total Authorized Capital:
150,000

                                                            Filing History      Name History      Mergers/Conversions



                                              Return to Search    Return to Results
Details    Case 2:20-cv-03956-JAK-PVC EXHIBIT
                                       Document
                                              2 1 Filed 04/30/20 Page 36 of 41 Page ID #:36
                                                                                        4/27/20, 3)32 PM




          Case Information

          A-20-809896-B | Custodian Ventures, LLC, Plaintiﬀ(s) vs. Superbox, Inc. [Nevada Entity No. C574-1999], Defendant(s)

          Case Number                                    Court                                       Judicial Oﬃcer
          A-20-809896-B                                  Department 27                               Allf, Nancy
          File Date                                      Case Type                                   Case Status
          02/06/2020                                     NRS Chapters 78-89                          Open




          Party

          Plaintiﬀ                                                                                   Active Attorneys !
          Custodian Ventures, LLC                                                                    Lead Attorney
                                                                                                     Chasey, Peter L.
                                                                                                     Retained




          Other                                                                                      Active Attorneys !
          Custodian Ventures, LLC                                                                    Lead Attorney
                                                                                                     Chasey, Peter L.
                                                                                                     Retained




          Defendant
          Superbox, Inc. [Nevada Entity No. C574-1999]




          Events and Hearings


            02/06/2020 Initial Appearance Fee Disclosure !


               Comment
               Initial Appearance Fee Disclosure


            02/06/2020 Motion !


               Comment
               Motion for Appointment of Custodian


            02/06/2020 Clerk's Notice of Hearing !


               Comment
               Notice of Hearing


            02/10/2020 Certificate of Service !


               Comment
               Certificate of Service



https://www.clarkcountycourts.us/Portal/Home/WorkspaceMode?p=0                                                                  Page 1 of 2
Details    Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 37 of 41 Page ID #:37
                                                                                       4/27/20, 3)32 PM




             03/11/2020 Motion for Appointment !


             Judicial Oﬃcer
             Allf, Nancy

             Hearing Time
             9:30 AM

             Result
             Granted

             Comment
             Petitioner Motion for Appointment of Custodian

             Parties Present "
              Plaintiﬀ

                Attorney: Chasey, Peter L.


             03/11/2020 Order !


               Comment
               Order Appointing Custodian


             03/12/2020 Notice of Entry of Order !


               Comment
               Notice of Entry of Order




          Financial

          Custodian Ventures, LLC
                Total Financial Assessment                                                                      $1,530.00
                Total Payments and Credits                                                                      $1,530.00


           2/6/2020      Transaction Assessment                                                                $1,530.00

           2/6/2020      Efile Payment                 Receipt # 2020-07580-CCCLK   Custodian Ventures, LLC   ($1,530.00)




https://www.clarkcountycourts.us/Portal/Home/WorkspaceMode?p=0                                                              Page 2 of 2
Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 38 ofElectronically
                                                                 41 Page FiledID #:38
                                    EXHIBIT 3                  2/10/2020 9:36 AM
                                                                   Steven D. Grierson
                                                                   CLERK OF THE COURT




                                 Case Number: A-20-809896-B
Nevada eSOS Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 39 of 41 Page ID #:39
                                                                                        4/27/20, 4(42 PM




                                                          EXHIBIT 4



     ENTITY INFORMATION



        ENTITY INFORMATION



            Entity Name:           SUPERBOX, INC.            Entity Number:     C574-1999


               Entity Type:        Domestic Corporation        Entity Status:   Active
                                   (78)

                Formation          01/12/1999               NV Business ID:     NV19991147125
                    Date:


              Termination          Perpetual              Annual Report Due     1/31/2021
                    Date:                                             Date:




        REGISTERED AGENT INFORMATION


                  Name of          QUASAR                             Status:   Active
              Individual or        CORPORATE
              Legal Entity:        SERVICES


               CRA Agent                                   Registered Agent     Non-Commercial
               Entity Type:                                           Type:     Registered Agent


              NV Business                                 Oﬃce or Position:
                       ID:


              Jurisdiction:




https://esos.nv.gov/EntitySearch/BusinessInformation                                               Page 1 of 3
Nevada eSOS Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 40 of 41 Page ID #:40
                                                                                        4/27/20, 4(42 PM



                    Street         8275 S EASTERN
                  Address:         AVENUE SUITE 200,
                                   LAS VEGAS, NV,
                                   89123, USA

                   Mailing
                  Address:


                Individual
                      with
              Authority to
                      Act:


                 Fictitious
                Website or
                  Domain
                    Name:




      OFFICER INFORMATION
                                                                                          VIEW HISTORICAL
                                                                                          DATA


    Title            Name                  Address                                         Last Updated    Status

    President        David Lazar           3445 Lawrence Ave, Oceanside, NY, 11572, USA    04/23/2020      Active

    Secretary        David Lazar           3445 Lawrence Ave, Oceanside, NY, 11572, USA    04/23/2020      Active

    Treasurer        David Lazar           3445 Lawrence Ave, Oceanside, NY, 11572, USA    04/23/2020      Active

    Director         David Lazar           3445 Lawrence Ave, Oceanside, NY, 11572, USA    04/23/2020      Active

       Page 1 of 1, records 1 to 4 of 4


    CURRENT SHARES

    Class/Series                          Type                       Share Number         Value

                                          Authorized                 100,000,000          0.001000000000

                                          Authorized                 5,000,000            0.010000000000


https://esos.nv.gov/EntitySearch/BusinessInformation                                                          Page 2 of 3
Nevada eSOS Case 2:20-cv-03956-JAK-PVC Document 1 Filed 04/30/20 Page 41 of 41 Page ID #:41
                                                                                        4/27/20, 4(42 PM



       Page 1 of 1, records 1 to 2 of 2



      Number of No Par Value               0
                    Shares:

      Total Authorized Capital:            150,000


                                                            Filing History    Name History   Mergers/Conversions




                                                  Return to Search      Return to Results




https://esos.nv.gov/EntitySearch/BusinessInformation                                                         Page 3 of 3
